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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

INRE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §§
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Dan A. Van, et al. v. § MAG. JUDGE SHUSHAN
BP PLC, et al §

EDLA No. 10-3181 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs’ THANH NGUYEN, JOHN CAMPBELL,
HANH LE, DUC DUONG, KHANH BUI, MINH NGUYEN, TRAI VO, NHAT DUONG,
DEBRA TYLER, HA! TRAN, TRANG NGUYEN and HAN LE’S Motion for Leave of
Court to Voluntarily Dismiss Claims Without Prejudice is hereby in all things is
GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs THANH NGUYEN,
JOHN CAMPBELL, HANH LE, DUC DUONG, KHANH BUI, MINH NGUYEN, TRAI VO,
NHAT DUONG, DEBRA TYLER, HAI TRAN, TRANG NGUYEN and HAN LE only, as
listed on Exhibit “A” attached to said Motion are hereby dismissed without prejudice.
This Order in no way affects the claims of the remaining Plaintiffs in this Civil Action.

New Orieans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
